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                   IN THE UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                               SHELBY DIVISION

In re:                                                 Chapter 7

Elizabeth nmn Walker                                   Case No. 21-40122


                       Debtor(s).

                        RESPONSE AND REQUEST FOR HEARING

NOW COMES Jimmy R. Summerlin, Jr., Chapter 7 Trustee (the “Trustee”) herein, in response
to the Motion for Relief from Stay filed herein by Specialized Loan Servicing, LLC (Docket No.
8) and requests the Court to hold a hearing on said motion. In support hereof, the Trustee shows
the Court as follows:

    1. This case was commenced July 9, 2021 by the filing of a voluntary petition by the debtor,
       Elizabeth Walker.

    2. The undersigned has been duly appointed and is serving as the Chapter 7 Trustee herein.

    3. The Section 341 meeting of creditors in this case is scheduled for August 20, 2021.

    4. The Trustee is in the process of reviewing the property subject to the motion to determine
       whether there is sufficient equity in the property to warrant administration herein.


Dated: July 29, 2021                        /s/ Jimmy R. Summerlin, Jr.
                                            Jimmy R. Summerlin, Jr.
                                            Chapter 7 Trustee
                                            N.C. State Bar No. 31819
                                            P.O. Drawer 2428
                                            Hickory, NC 28603
                                            Telephone: 828-322-4663
                                            Facsimile: 828-324-2431
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                                 CERTIFICATE OF SERVICE

         I hereby certify that copies of the foregoing document were served by electronic

notification on those parties registered with the United States Bankruptcy Court, Western District

of North Carolina ECF system to receive notices for this case on July 29, 2021, and upon the

following by 1st Class U.S. Mail:

         Christine M. Lamb (VIA CM/ECF)
         Henderson, Nystrom, Fletcher, Tydings, et. al.
         PO BOX 2188
         Davidson, NC 28036-2188

         Roderick H. Willcox, Jr. (VIA CM/ECF)
         PO Drawer 442
         Morganton, NC 28680-0442

         Elizabeth (nmn) Walker (VIA US MAIL)
         2664 Conley Rd.
         Morganton, NC 28655-8840

         U.S. Bankruptcy Administrator (VIA US MAIL)
         402 W Trade Street, Ste 200
         Charlotte, NC 28202

Dated: July 29, 2021.                         /s/ Jimmy R. Summerlin, Jr
                                              Jimmy R. Summerlin, Jr., Chapter 7 Trustee
                                              N.C. State Bar No. 31819
                                              P.O. Drawer 2428
                                              Hickory, NC 28601
                                              Telephone: 828-322-4663
